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                                    United States District Court
                                       District Of Maryland
     Chambers of                                                                        101 West Lombard Street
Ellen Lipton Hollander                                                                  Baltimore, Maryland 21201
  District Court Judge                                                                        410-962-0742

                                              November 27, 2023

      MEMORANDUM TO COUNSEL
             Re:      Sopel v. Amentum Services, Inc.
                      Civil Action No. ELH-23-0430

      Dear Counsel:

              As you know, on October 17, 2023, the parties filed a “Joint Motion for Extension of
      Time,” which proposed, inter alia, to extend the discovery deadline and the deadline for submitting
      a status report to November 20, 2023. ECF 31 at 2 (“Motion”). By Order of October 24, 2023,
      the Court granted the Motion. ECF 33. The Order directed the parties to file a status report by
      November 20, 2023. Id. ¶ 6.

               The parties have not filed a status report. See Docket. Accordingly, the parties are directed
      to file a status report on or before December 1, 2023.

              Despite the informal nature of this Memorandum, it is an Order of the Court and the Clerk
      is directed to docket it as such.

                                                Very truly yours,
                                                     /s/
                                                Ellen Lipton Hollander
                                                United States District Judge
